AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI

 UNITED STATES OF AMERICA
                                                          Case No. 3:15-05019-CR-RK-1

                                                          ORDER ON MOTION FOR
 v.                                                       SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)

                                                          (COMPASSIONATE RELEASE)
 JASON L. CHILDERS,


        Upon motion of       the defendant      the Director of the Bureau of Prisons for a

reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable

factors provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

Sentencing Commission,

IT IS ORDERED that the motion is:

      GRANTED

            The defendant’s previously imposed sentence of imprisonment of              is reduced to

       . If this sentence is less than the amount of time the defendant already served, the sentence

is reduced to a time served; or

            Time served.

        If the defendant’s sentence is reduced to time served:

                       This order is stayed for up to fourteen days, for the verification of the

                       defendant’s residence and/or establishment of a release plan, to make

                       appropriate travel arrangements, and to ensure the defendant’s safe

                       release. The defendant shall be released as soon as a residence is verified,

                       a release plan is established, appropriate travel arrangements are made,



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               and it is safe for the defendant to travel. There shall be no delay in

               ensuring travel arrangements are made. If more than fourteen days are

               needed to make appropriate travel arrangements and ensure the

               defendant’s safe release, the parties shall immediately notify the court and

               show cause why the stay should be extended; or

               There being a verified residence and an appropriate release plan in place,

               this order is stayed for up to fourteen days to make appropriate travel

               arrangements and to ensure the defendant’s safe release. The defendant

               shall be released as soon as appropriate travel arrangements are made and

               it is safe for the defendant to travel. There shall be no delay in ensuring

               travel arrangements are made. If more than fourteen days are needed to

               make appropriate travel arrangements and ensure the defendant’s safe

               release, then the parties shall immediately notify the court and show cause

               why the stay should be extended.

     The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

     Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term”

of     probation or     supervised release of         months (not to exceed the unserved

portion of the original term of imprisonment).

            The defendant’s previously imposed conditions of supervised release apply to

        the “special term” of supervision; or

            The conditions of the “special term” of supervision are as follows:


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           The defendant’s previously imposed conditions of supervised release are unchanged.

           The defendant’s previously imposed conditions of supervised release are modified as

       follows:



    DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the

United States Attorney to file a response on or before        , along with all Bureau of Prisons

records (medical, institutional, administrative) relevant to this motion.

    DENIED after complete review of the motion on the merits.

           FACTORS CONSIDERED (Optional)

       The Court considers Mr. Childers' medical condition, the ongoing pandemic in relation to

his medical condition, the crime of conviction, the remaining sentence to be served,

rehabilitation efforts taken, and the danger the defendant still poses to the community. After

reviewing these factors, the Court finds that Mr. Page does not establish extraordinary and

compellng reasons exist for early release at this time.

       Furthermore, defendant requests appointment of counsel and a hearing to further pursue

his motion for compassionate release. (Doc. 58.) The Eighth Circuit has determined that in

proceedings under § 3582(c) there is no constitutional right to the appointment of counsel, nor is

there a statutory right to counsel available under 18 U.S.C. § 3006A(c). United States v. Harris,

568 F.3d 666, 669 (8th Cir. 2009); See also United States v. Wilson, 5:08-CR-50051-KES, 2019

WL 7372975 at *3 (Dec. 31, 2019), (where the South Dakota United States District Court, citing

United States v. Webb, 565 F 3d 789, 793-95 (11th Cir. 2009), found that the defendant did not

have the right to counsel for a motion for compassionate release). Further, although the First


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Step Act does not specify the procedure for judicial consideration of a motion for compassionate

release under Section 3582(c)(1)(A), under the law, the inmate does not have a right to a hearing.

Rule 43(b)(4) of the Federal Rules of Criminal Procedure states that a defendant need not be

present where “[t]he proceeding involves the correction or reduction of sentence under Rule 35

or 18 U.S.C. § 3582(c).” See Dillon v. United States, 560 U.S. 817, 827–28 (2010) (observing

that, under Rule 43(b)(4), a defendant need not be present at a proceeding under Section

3582(c)(2) regarding the imposition of a sentencing modification). In Wilson, supra, the District

Court, citing Dillon, also denied a request for an evidentiary hearing on the defendant’s motion

for compassionate release. Accordingly, Mr. Childers' motion is DENIED.

           DENIED WITHOUT PREJUDICE because the defendant has not exhausted all

administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since

receipt of the defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated:

October 20, 2020                                         s/ Roseann A. Ketchmark
                                                    UNITED STATES DISTRICT JUDGE




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